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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      CRIMINAL NO. 12-CR-00344(01)

 VERSUS                                        JUDGE FOOTE

 JAMES PANOS (01)                              MAGISTRATE JUDGE HANNA

                        CONFLICT RULING AND ORDER

       On the motion of Kevin Stockstill, as attorney for James Panos, the

 undersigned held a hearing on January 6, 2014, to consider whether Mr. Stockstill

 has/may have an actual or potential conflict in representing James Panos by virtue

 of the fact that Mr. Stockstill previously represented one of the witnesses listed by

 the government who is expected to be called by the government at the trial of the

 captioned matter. The defendant was placed under oath and found to be

 competent. Standby counsel was provided to the defendant.

       This case has been designated as complex for purposes of the Speedy Trial

 Act, 18 U.S.C. §3161 that is very document intensive. It is set for trial in May and

 disqualification of Mr. Stockstill at this juncture would likely work a hardship on

 the defendant. The witness was identified as a former employee of Desperado’s

 Nightclub, who is expected to testify regarding the operations of the club. While

 her testimony is not insignificant, she would not be considered a major witness at

 the trial. Her representation by Mr. Stockstill dealt with matters unrelated to the
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 club or the charges made the subject of this matter. During her representation by

 Mr. Stockstill, the witness plead ‘no contest’ to a misdemeanor drug offense and

 her sentence has been satisfied. The matter is concluded and there is no longer an

 attorney/client relationship between the witness and Mr. Stockstill.

       On these facts, the undersigned finds no present or concurrent conflict of

 interest as the term is described in Rule 1.7 of the Rules of Professional Conduct

 although the potential for conflict exists in the event the witness is called and Mr.

 Stockstill is limited in his cross-examination based on information he acquired

 through his representation of her. The issue was explained in detail to the

 defendant who expressed his intention to waive any potential conflict as to his

 attorney and the witness. The undersigned accepted the defendant’s waiver.

 However, in order to avoid an actual conflict at trial, co-counsel will be appointed

 for the defendant for the purposes of questioning the witness for the defense.

                           Applicable Law and Discussion

       When faced with the possibility of a conflict, it is incumbent upon the court

 to ascertain whether the conflict warrants separate counsel for a criminal

 defendant nothwithstanding the criminal defendant’s right to be represented by his

 preferred counsel. Wheat v. United States, 486 U.S. 153,159-160, 108 S.Ct.

 1692,1697 (1988). A district court may refuse to accept a defendant’s waiver of an
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 actual or potential conflict, because the court has “an independent interest in

 ensuring that criminal trials are conducted within the ethical standards of the

 profession and that legal proceedings appear fair to all who observe them.” Id., see

 also United States v. Vasquez, 995 F.2d 40,42 (5th Cir. 1993).

       The question of whether there is a conflict of interest, either in concurrent or

 successive representations, is determined by focusing on “whether counsel’s

 allegiance to the accused was compromised by competing obligations owed to

 other clients.” Perillo v. Johnson, 205 F.3d 775, 798 (5th Cir.2000), citing United

 States v. Alvarez, 580 F.2d 1251, 1255, 1258 (5th Cir. 1978).

       In the instant case, the potential conflict involves a single witness and a

 past, now-concluded attorney/client relationship between defense counsel and the

 witness. For the reasons given above, the Court finds no actual conflict exists at

 the present, but recognizes that the potential for conflict exists should the witness

 be called at trial. Mr. Stockstill affirmed his belief that he “will be able to provide

 competent and diligent representation” to the defendant as required by La. Rule of

 Professional Conduct 1.7. The defendant voiced his understanding of the issue,

 his satisfaction with Mr. Stockstill’s representation and his desire that Mr.

 Stockstill continue that representation.
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       While the Court recognizes the defendant’s waiver as valid under United

 States v. Garcia, 517 F.2d 272, 278 (5th Cir.1975), abrogated on other grounds by

 Flanagan v. United States, 465 U.S. 259, 263 & n. 2, 104 S.Ct. 1051, 79 L.Ed.2d

 288 (1984), and will not disqualify Mr. Stockstill, the defendant has been made

 aware that the Court will appoint co-counsel for purposes of cross-examination of

 the witness if necessary.

                               Conclusions and Orders

       After interviewing the defendant, advising him of his rights, and

 questioning counsel for the defendant and the government, it is the finding of the

 undersigned that the defendant James Panos understands his rights to conflict-free

 counsel and the potential for conflict presented by the single government witness

 at issue. The defendant made a knowing and intelligent waiver, which the court

 accepts. Nevertheless, the Court will appoint co-counsel for purposes of avoiding

 the potential conflict in the event the witness is called by the government at trial.

 In the event counsel for the defendant or the government should identify an actual

 conflict as this matter proceeds, that conflict is to be breought to the attention of

 the Court in order to convene another hearing if appropriate. Therefore, for the

 reasons given above,
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 IT IS HEREBY ORDERED that the Office of the Federal Public Defender

 recommend counsel from the CJA panel to assist in the defense of James Panos for

 the purpose of cross-examination of the witness identified by the government

 formerly represented by Mr. Stockstill.

 IT IS FURTHER ORDERED that the government will notify the court and

 defense counsel in the event it determines that the witness will not be called at trial

 on the merits.

       Signed in Lafayette, Louisiana, this 6th day of January, 2014.




                                               ______________________________
                                               Patrick J. Hanna
                                               United States Magistrate Judge
